            If this opinion indicates that it is “FOR PUBLICATION,” it is subject to
                 revision until final publication in the Michigan Appeals Reports.




                          STATE OF MICHIGAN

                            COURT OF APPEALS


WILLIAM G. RAPPLEYE,                                                 UNPUBLISHED
                                                                     August 22, 2024
               Plaintiff-Appellant,

v                                                                    No. 371720
                                                                     Jackson Circuit Court
JACKSON COUNTY CLERK,                                                LC No. 2024-001203-AW

               Defendant-Appellee.


Before: MURRAY, P.J., and M. J. KELLY and YATES, JJ.

PER CURIAM.

        Plaintiff, William G. Rappleye, appeals as of right from the July 15, 2024 order denying
his request for mandamus relief. Because the trial court did not abuse its discretion when it denied
mandamus, we affirm.

                                       I. BACKGROUND

        This appeal involves an election challenge filed by plaintiff, who is a candidate for the
office of Jackson County Probate Judge, to the nominating petitions filed by another candidate for
the same office, Jennifer Kelly. In April 2024, Ms. Kelly filed her affidavit of identity and
nominating petitions. Ms. Kelly utilized the pre-printed petition forms commonly used by
candidates. See MCL 168.544a; MCL 168.544c; MCL 168.546. The forms contained handwriting
at the top indicating that the position sought was “Regular Term – Non-Incumbent.” By all
accounts, this is the proper designation for Ms. Kelly’s petition sheets. See MCL 168.433(2). The
only dispute concerns the timing with which the handwriting was purportedly added to the petition
sheets.

        As noted, plaintiff filed a challenge to Ms. Kelly’s nominating petitions. The challenge
acknowledged that the “non-incumbent” designation was proper. However, plaintiff’s challenge
asserted—without providing any evidence—that the designation “appears to have been added to
the submitted petitions after certification of the circulator.”

       Defendant issued a written response in May 2024 that denied plaintiff’s challenge. The
response noted plaintiff’s lack of evidence. In addition, defendant’s written response noted that


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Ms. Kelly’s nominating petitions contained the “non-incumbent” language that was, by all
accounts, the correct language under the circumstances.

        Plaintiff filed a petition for writ of mandamus in Jackson Circuit Court in which he averred
that Ms. Kelly’s nominating petitions were invalid because the hand-written, “non-incumbent”
designation was added after the petitions were signed. Once again, plaintiff provided no proof in
support of his assertions. Plaintiff asserted that defendant had a statutory duty under MCL 168.552
to investigate the allegations in his petition. However, while the complaint generally referred to
an alleged duty to investigate, the only relief that plaintiff requested was limited to Ms. Kelly’s
presence on the ballot. Plaintiff asked that the trial court order defendant to “rescind the
acceptance” of Ms. Kelly’s nominating petitions and to remove Ms. Kelly from the ballot.

       Plaintiff filed a motion for an order to show cause as to why defendant should not be held
in contempt for failing to adhere to this state’s election law. He contended once again that Ms.
Kelly’s nominating petitions were altered after they were signed. Again, he did not provide any
evidence in support of his assertion.

         Thereafter, plaintiff filed an amended motion for an order to show cause. Unlike his
previous filings, plaintiff supported the amended motion with a three-paragraph affidavit from one
of the individuals who circulated Ms. Kelly’s nominating petitions. The affiant stated that the
petitions did not have the hand-written, “non-incumbent” designation at the time of circulating.
Plaintiff did not explain how many of Ms. Kelly’s petition sheets or signatures were affected by
this affiant’s assertions, however.

        Following a hearing, the trial court denied mandamus relief. The trial court concluded that
the statute cited by plaintiff, MCL 168.552, did not compel the relief plaintiff sought. The court
ruled that the statute was limited to challenges concerning the veracity of signatures on a
nominating petition.

        On appeal to this Court, plaintiff argues that the “non-incumbent” language on Ms. Kelly’s
petitions was added after-the-fact. He also argues that he can, in an action for mandamus relief,
raise matters that go beyond the signatures on petition sheets.

                                           II. ANALYSIS

        Mandamus is an extraordinary remedy that is within the discretion of the trial court to grant
or deny. Barrow v Wayne Co Bd of Canvassers, 341 Mich App 473, 484; 991 NW2d 610 (2022).
The plaintiff bears the burden of showing entitlement to this remedy, and must show that: “(1) the
plaintiff has a clear, legal right to performance of the specific duty sought, (2) the defendant has a
clear legal duty to perform, (3) the act is ministerial, and (4) no other adequate legal or equitable
remedy exists that might achieve the same result.” Id. at 484-485 (quotation marks omitted and
citation).

        For purposes of mandamus relief, a “clear legal right” held by the plaintiff is a right that is
“clearly founded in, or granted by, law; a right which is inferable as a matter of law from
uncontroverted facts regardless of the difficulty of the legal question to be decided.” Id. at 485(quotation marks and citation omitted). Thus, not only must the law be clear, but the facts must
also be clear and not in dispute. As explained by our Supreme Court, “[m]andamus will not lie to


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compel a public officer to perform a duty dependent upon disputed and doubtful facts but is
designed to enforce a plain, positive duty upon the relation of one who has a clear legal right to
have it performed . . . .” McLeod v Kelly, 304 Mich 120, 125; 7 NW2d 240 (1942). See also
Garner v Mich State Univ, 185 Mich App 750, 762; 462 NW2d 832 (1990) (“[M]andamus may
not be issued where disputed facts exist.”).

        Plaintiff has asked that defendant be ordered to rescind its certification of Ms. Kelly’s
nominating petitions and remove her from the ballot. As for the existence of a clear legal right
and a clear legal duty, plaintiff points out that MCL 168.433(2) declares that nominating petitions
filed under that section—the section pertinent to probate court judges—“are only valid” if they
clearly indicate the type of office sought. This includes the correct incumbent/non-incumbent
label. Id. In the instant case, plaintiff has never argued that Ms. Kelly’s petitions failed to include
the correct designation. Instead, he argues that the proper designation was added after the petition
sheets were circulated and signed.

       The problem for plaintiff, at least insofar as his entitlement to mandamus relief is
concerned, is the lack of proof throughout the proceedings. We decline to find that plaintiff
demonstrated a clear legal duty on the part of defendant to remove Ms. Kelly from the ballot in
response to his challenge when he did not present any evidence, aside from his unfounded
speculation, in support of his challenge. Whatever duty defendant may have under MCL
168.433(2), plaintiff’s unsupported assertions did not warrant removing Ms. Kelly from the ballot.

         Expanding on the above, the facts in this matter are, and have always been, unclear, and
plaintiff has consistently failed to clarify the facts or provide evidence in support of his assertions.
Plaintiff never submitted an affidavit or an offer of proof with his challenge to Ms. Kelly’s
nominating petitions. He did not submit an offer of proof with his complaint for mandamus. And
while he presented an affidavit as to some of the petition sheets in his amended motion for an order
to show cause, he has never given any indication of how many signatures are affected by the
affidavit. This is significant, because it is unclear from this affidavit—assuming for now that
plaintiff is otherwise correct in his assertions—whether the number of signatures affected by the
affidavit is enough to lower Ms. Kelly below the statutory threshold for the requisite amount of
signatures. See MCL 168.544f (establishing signature requirements a candidate must meet to run
for office). Indeed, plaintiff has not explained how many signatures could potentially be affected
by the affidavit, nor did he even provide evidence of how many signatures Ms. Kelly filed in the
first place. Accordingly, taking the averments as true and accepting for purposes of argument that
they would invalidate the signatures on the affected petition sheets, the factual record is too meager
and unclear to suggest that plaintiff is entitled to the extraordinary remedy that is mandamus relief.
Mandamus will not lie where the facts are unclear or in dispute. See Garner, 185 Mich App at
762. Plaintiff has fallen short of his burden to demonstrate entitlement to mandamus relief.

        Before concluding, we note that plaintiff has largely left unchallenged the trial court’s
reasoning as well as defendant’s assertions about whether the obligations placed on defendant
under MCL 168.552 give rise to a duty to investigate and to remove Ms. Kelly from the ballot.
Plaintiff’s failure to address the trial court’s reasoning in a meaningful way, along with his
relatively cursory and conclusory briefing, provides further support for our conclusion that plaintiff
has fallen short of meeting his burden to show entitlement to mandamus relief. See Seifeddine v



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Jaber, 327 Mich App 514, 519-520; 934 NW2d 64 (2019); Prince v MacDonald, 237 Mich App
186, 197; 602 NW2d 834 (1999).

      Affirmed.

                                                    /s/ Christopher M. Murray
                                                    /s/ Michael J. Kelly
                                                    /s/ Christopher P. Yates




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